Case 22-21319-CMB           Doc 61     Filed 08/16/23 Entered 08/16/23 12:17:57              Desc Final
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  Form 129
                        IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE WESTERN DISTRICT OF PENNSYLVANIA

  In re:
                                                              Bankruptcy Case No.: 22−21319−CMB
  PC Tire & Foamfill Specialists LLC
  46−3921835                                                  Chapter: 7
    Debtor(s)




                                           FINAL DECREE

                    The estate of the above named debtor has been fully administered.



  IT IS ORDERED THAT:

         Natalie Lutz Cardiello is discharged as trustee of the estate of the above named Debtor(s) and
  the bond is cancelled; the Chapter 7 case of the above named Debtor(s) is closed.




  Dated: August 16, 2023                                          Carlota M Bohm
                                                                  United States Bankruptcy Judge
